






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00270-CV






Jeffrey A. Fox, Appellant


v.


James F. O'Leary, Jr., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-GN-10-002394, HONORABLE AMY CLARK MEACHUM, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Jeffrey A. Fox appeals a take-nothing judgment rendered against him in his suit for
injunctive relief arising out of his claim that James F. O'Leary, Jr.'s construction of a home on his
lot violated deed restrictions governing their subdivision.  After a bench trial, the trial court
concluded that Fox's claims were barred by the affirmative defense of laches.  We will reverse the
trial court's judgment and remand the cause for further proceedings.


FACTUAL AND PROCEDURAL BACKGROUND

		Fox and O'Leary own adjoining lots in the Highland Hills subdivision in Austin. 
O'Leary purchased his lot in 1977, and Fox purchased his lot in early 2007.  At the time of both
purchases, the lots had houses on them that were built during the original development of the
subdivision in the 1960s.  All the lots in the subdivision, including those owned by Fox and O'Leary,
are subject to deed restrictions recorded in Volume 2392, Page 620 of the Travis County Deed
Records.  The deed restrictions have been in place since 1963 and provide, in pertinent part:


	8.	Set-Back: Front Line, Side Line, and Rear Line


	No structure shall be located or erected on any plot nearer to the front plot line than
40 feet; or nearer than 10 feet to any side line; or nearer than 25 feet to a side street
line; or nearer than 20 feet to any rear line; provided, that the [S]ubdividers, or in the
alternate, the Architectural Committee referred to in Paragraph 10 may vary set-back
requirements to City minimum where in the opinion of the Subdividers or the
Committee no adverse effect will be had on the neighborhood and where, because of
trees and/or topography, the strict enforcement of the provisions of this paragraph
would militate against the best utilization of the lot.  Under no circumstances,
however, shall a structure approach nearer than 25 feet to the front line; or nearer
than 7 1/2 feet to any side line; or nearer than 10 feet to any rear line, or if a corner,
nearer than 15 feet to a side street line.


In October 2007 O'Leary's house was destroyed by fire.  In 2009 O'Leary decided to rebuild on the
lot and hired an architect to prepare plans and specifications for the new construction.  Construction
began in January 2010.  By mid-February the slab for the foundation (apparently slightly larger than
the old slab) was poured, and by early March framing of the exterior walls was under way.

		On March 4 Holly Eaton, O'Leary's next-door neighbor on the south side of his
property, notified O'Leary that his new house was in violation of the setback provisions of the deed
restrictions.  Specifically, she informed him that the house was nearer than 10 feet to the boundary
between their lots.  At that time she showed O'Leary a copy of the deed restrictions.  The next day,
O'Leary reviewed the Travis County real property records and confirmed the existence of the deed
restrictions Eaton had showed him.  O'Leary testified that he "went down there to check to find out
whether or not there were any other additional documents that were relevant to the documents or
the&nbsp;copy of the deed restrictions [Eaton] had provided" and "to find out if there was anything in
addition&nbsp;to those deed restrictions that would impact the validity of the original document."  O'Leary
further&nbsp;testified:


	But still and all, I realized that the deed restrictions--regardless of what [Eaton] did
to soften the blow, so to speak, the deed restrictions were what they were.  And I
realized shortly thereafter--I probably measured the north property line and realized
that I was in violation at that point also.  And all through this process, I'm thinking
how can I live here in this property, in this subdivision for 30 years, and be totally
oblivious of any deed restrictions?  And I--I felt as though I was absolutely in an
incredulous position to be in.  I started thinking about, at that time, the amount of
money, which was in the neighborhood of well over $200,000 that I had--that we
had drawn already on the construction draw, and the amount of work that we had
done on the house, the framing had been complete, and I took all of those things into
account and decided to go ahead and continue with the--with the project.



		In mid-May Eaton had a conversation with Fox, who was O'Leary's neighbor to the
north, during which she pointed out the fact that O'Leary's new house was being built in violation
of the setback provisions in the deed restrictions.  Fox reviewed the deed restrictions and confirmed
that Eaton was correct.  Fox then attempted to contact O'Leary.  Not having a telephone number for
O'Leary, Fox finally located him by driving through the neighborhood looking for O'Leary's car,
which was parked in front of the home O'Leary was living in while his new house was under
construction.  Fox testified that on June 10, he and O'Leary discussed the new construction and that
he asked O'Leary how he was able to circumvent the deed restrictions.  According to Fox, O'Leary
stated that he did not think the deed restrictions were enforceable.  On June 14 Fox notified O'Leary
in writing that he objected to the new construction because it violated the deed restrictions and
advised O'Leary to consult with his architect regarding how to remedy the violations.  O'Leary
testified that he did not stop construction on the house because


	I felt in my heart of hearts that given the amount of work that had been done on the
house, given what it would take to now redesign the house, I thought I was just in an
impossible situation, and I wasn't about [sic] halting construction at that point,
allowing the project to lay [sic] dormant while we tried to work through this process. 
I felt as though, at least until I had received this letter and then maybe a little beyond
it, that there was a chance that we might be able to--specifically myself and Mr. Fox
might be able to work something out to accommodate his concerns.


		In July 2010 Fox sued O'Leary for breach of restrictive covenants, alleging that
O'Leary's construction of the home violated deed restrictions governing their subdivision.  Fox
sought a permanent injunction that would require O'Leary to bring his home into compliance with
the deed restrictions.  O'Leary filed a general denial and, as affirmative defenses, asserted that Fox's
claims were barred by limitations, waiver, laches, and unclean hands.  In a counterclaim, O'Leary
alleged that Fox's house also failed to comply with the deed restrictions and sought to enjoin Fox
from allowing his house to remain on his property in violation thereof.  O'Leary also sought a
declaration that Fox's right to enforce the deed restrictions was barred by limitations and had been
waived by (1) the presence of other non-conforming residences in the subdivision, and (2) Fox's
conduct in waiting an unreasonable length of time to assert his claim.  O'Leary requested that the
trial court declare any non-compliance to be de minimis, balance the equities between the parties,
and allow the house to remain in place.  After a four-day bench trial, the court rendered judgment
in O'Leary's favor on the ground that he had established that Fox's claims were barred by the
affirmative defense of laches.  The trial court expressly denied O'Leary's other affirmative defenses
and also rendered judgment that O'Leary take nothing by way of his counterclaim.  Fox perfected
this appeal.


STANDARD OF REVIEW

		In an appeal from a judgment rendered after a bench trial, the trial court's findings
of fact have the same weight as a jury's verdict, and we review the legal and factual sufficiency
of&nbsp;the evidence to support them as we would review a jury's findings.  See Catalina v. Blasdel,
881&nbsp;S.W.2d 295, 297 (Tex. 1994).  When the trial court's express findings of fact do not address all
grounds for recovery or defenses, an appellate court implies findings of fact regarding the omitted
grounds or defenses that are needed to support the judgment.  Pulley v. Milberger, 198 S.W.3d 418,
427 (Tex. App.--Dallas 2006, pet. denied).  To determine whether legally sufficient evidence
supports a challenged finding, we must credit evidence favorable to the finding if a reasonable
factfinder could, disregard contrary evidence unless a reasonable factfinder could not, and reverse
the factfinder's determination only if the evidence presented in the trial court would not enable a
reasonable and fair-minded factfinder to reach the judgment under review.  City of Keller v. Wilson,
168 S.W.3d 802, 827 (Tex. 2005).  We will sustain a legal-sufficiency challenge if the record
reveals:  (1) the complete absence of evidence of a vital fact; (2) that the court is barred by rules of
law or evidence from giving weight to the only evidence offered to prove a vital fact; (3) that the
evidence offered to prove a vital fact is no more than a mere scintilla; or (4) that the evidence
conclusively establishes the opposite of a vital fact.  Id. at 810.

		In reviewing a factual-sufficiency challenge, we examine the entire record and
consider and weigh all the evidence, both in support of and contrary to the challenged finding.  Ortiz
v. Jones, 917 S.W.2d 770, 772 (Tex. 1996).  When a party attacks the factual sufficiency of an
adverse finding on an issue on which it has the burden of proof, it must demonstrate on appeal that
the adverse finding is against the great weight and preponderance of the evidence.  Urista v. Bed,
Bath &amp; Beyond, Inc., 245 S.W.3d 591, 601 (Tex. App.--Houston [1st Dist.] 2007, no pet.).  When
a party attacks the factual sufficiency of an adverse finding on which it does not have the burden of
proof, we set aside the finding only if the evidence is so weak as to make the finding clearly wrong
and manifestly unjust.  Cain v. Bain, 709 S.W.2d 175, 176 (Tex. 1986).

		We review the trial court's conclusions of law de novo.  BMC Software Belgium, N.V.
v. Marchand, 83 S.W.3d 789, 794 (Tex. 2002).  Although an appellant may not challenge a trial
court's conclusions of law for factual sufficiency, we review de novo the trial court's legal
conclusions drawn from the facts to determine whether the conclusions are correct.  Id.


DISCUSSION

		In his first issue, Fox complains of the trial court's conclusion that laches barred his
claim, challenging both the legal and factual sufficiency of the evidence supporting that conclusion. 
Laches is an equitable remedy that prevents a plaintiff from asserting a claim due to a lapse of time. 
See Green v. Parrack, 974 S.W.2d 200, 204 (Tex. App.--San Antonio 1998, no pet.); Bluebonnet
Sav. Bank, F.S.B. v. Grayridge Apartment Homes, Inc., 907 S.W.2d 904, 912 (Tex. App.--Houston
[1st Dist.] 1995, writ denied).  The defense of laches requires proof of (1) a party's unreasonable
delay in asserting a legal or equitable right, and (2) a good-faith detrimental change of position by
another because of the delay.  Rogers v. Ricane Enters., Inc., 772 S.W.2d 76, 80 (Tex. 1989).  The
party asserting laches has the burden of proving both of these elements.  Colton v. Silsbee State
Bank, 952 S.W.2d 625, 629 (Tex. App.--Beaumont 1997, no pet.).  Moreover, as an equitable
theory, laches is subject to the doctrine of "unclean hands," which requires that a party seeking
equity must come to court with clean hands.  See Eagle Global Logistics, L.P., 89 S.W.3d 761, 766
(Tex. App.--Houston [1st Dist.] 2002, orig. proceeding); see also Truly v. Austin, 744 S.W.2d 934,
938 (Tex. 1988) (citing City of Wink v. Griffith Amusement Co., 100 S.W.2d 695, 702 (Tex. 1936),
and Breaux v. Allied Bank, 699 S.W.2d 599, 604 (Tex. App.--Houston [14th Dist.] 1985, writ ref'd
n.r.e.)) (party seeking equitable remedy "must do equity and come to court with clean hands");
Truong v. City of Houston, 99 S.W.3d 204, 212 (Tex. App.--Houston [1st Dist.] 2002, no pet.)
(party with "unclean hands" is not permitted to pursue equitable relief).  The doctrine of "unclean
hands" bars equitable relief sought by "one whose conduct in connection with the same matter
or&nbsp;transaction has been unconscientious, unjust, or marked by a want of good faith, or one
who&nbsp;has&nbsp;violated the principles of equity and righteous dealing."  In re Jim Walter Homes, Inc.,
207&nbsp;S.W.3d&nbsp;888, 899 (Tex. App.--Houston [14th Dist.] 2006, orig. proceeding) (quoting Thomas
v. McNair, 882 S.W.2d 870, 880-81 (Tex. App.--Corpus Christi 1994, no writ)).

		We first address whether O'Leary had "unclean hands" with respect to the events at
issue in this case.  The evidence presented at trial reveals that O'Leary closed on the construction
financing for his new house in December 2009.  In connection with the financing, O'Leary obtained
a new title commitment.  Schedule B of the title policy sets forth the Exceptions from Coverage. 
The first exception appearing on Schedule B states:


	We do not cover loss, costs, attorney's fees and expenses resulting from:


	1.	The following restrictive covenants of record itemized below (We must either
insert specific recording data or delete this exception):


		Volume 16, Page 84 Plat Records; Volume 2392, Page 620, Volume 2650,
Page 66, Deed Records, Travis County, Texas.


 In connection with the closing, O'Leary executed a "Closing Affidavit."  The affidavit contains
several paragraphs, each of which is initialed by O'Leary. (1)  The second and third paragraphs state
the following:


	2)	RECEIPT OF TITLE COMMITMENT:  You acknowledge having received
and reviewed a copy of the Title Commitment issued in connection with this
transaction and you understand that your Owner Title Policy will contain the
exceptions set forth in Schedule B of the Title Commitment, and any
additional exceptions to title resulting from the documents involved in this
transaction.


	3)	NOTICE:  You may wish to consult an attorney to discuss matters shown in
Schedule B or C of the Title Commitment.  These matters will affect your
title and use of your Property. . . . Title Company does not represent that your
intended use of the Property is allowed under the law or under the
restrictions or exceptions to title on your Property.


(Emphasis added.)  It is evident, therefore, that O'Leary was notified of the existence of deed
restrictions governing his property in December 2009.  Moreover, he was informed of their precise
location in the Travis County real property records.  Rather than undertake to familiarize himself
with the content of the deed restrictions, O'Leary apparently took no steps to obtain and review them. 
While O'Leary claims to have lacked actual notice of the content of the deed restrictions, that
information was readily available to him had he acted with reasonable diligence.


	Means of knowledge with the duty of using them are in equity equivalent to
knowledge itself. . . .  So that, in legal parlance, actual knowledge embraces those
things of which the one sought to be charged has express information, and likewise
those things which a reasonably diligent inquiry and exercise of the means of
information at hand would have disclosed.



Champlin Oil &amp; Ref. Co. v. Chastain, 403 S.W.2d 376, 388 (Tex. 1965) (quoting Hexter v. Pratt,
10 S.W.2d 692, 693 (Tex. Comm'n App. 1928, judgm't adopted) ("Where there is a duty of finding
out and knowing, negligent ignorance has the same effect in law as actual knowledge.")); see also
Cooksey v. Sinder, 682 S.W.2d 252, 253 (Tex. 1984) (per curiam) ("A purchaser is charged with
knowledge of the provisions and contents of recorded instruments.").  O'Leary's negligent ignorance
of the constraints the deed restrictions imposed on his use of his property equates to actual
knowledge of them.  We conclude, therefore, that the evidence conclusively establishes that O'Leary
had "unclean hands" with respect to the matter at issue in this case--constructing a house on his
property in violation of the deed restrictions.  While the trial court made no express finding that
O'Leary did not have "unclean hands," we conclude that any implied finding to that effect is not
supported by legally sufficient evidence; rather, the evidence conclusively establishes the opposite.

		In addition to the predicate requirement that O'Leary, as a party seeking equity, come
to court with clean hands, he was also required to establish both elements of the affirmative defense
of laches.  As such, he was obligated to prove that he conducted himself in good faith.  See City of
Fort Worth v. Johnson, 388 S.W.2d 400, 403 (Tex. 1964) (party asserting affirmative defense of
laches must prove that he changed his position in good faith).  O'Leary's lack of diligence in
familiarizing himself with the constraints imposed on his project by the deed restrictions, of which
he was aware no later than December 2009, conclusively establishes that he did not act in good faith. 
Moreover, O'Leary testified that "within a number of days" of his neighbor telling him on March&nbsp;4
that the construction violated the deed restrictions, and after he "lost a number of nights of sleep,"
he consciously "decided to go ahead and continue" the project.  While the trial court made no
express finding that O'Leary acted in good faith, either when the project commenced or when he
decided to continue construction within days of being told by his neighbor that he was violating the
deed restrictions, there is insufficient evidence to support any implied finding to that effect.  Because
O'Leary had "unclean hands" with respect to the transaction at issue and did not act in good faith,
the trial court erred in concluding that Fox's claim for breach of restrictive covenants was barred
by&nbsp;laches.

		In three crosspoints, O'Leary contends that the judgment should be upheld on the
alternative grounds that, as a matter of law, Fox's claims are barred by limitations, waiver, and/or
unclean hands.  The trial court's judgment expressly denied each of these affirmative defenses. 
When attacking the legal sufficiency of the evidence to support an adverse finding on an issue for
which it had the burden of proof, the appellant must demonstrate that the evidence conclusively
established all vital facts in support of the issue.  Dow Chem. Co. v. Francis, 46 S.W.3d 237, 241
(Tex. 2001).  A party attempting to overcome an adverse finding as a matter of law must surmount
two hurdles.  Sterner v. Marathon Oil Co., 767 S.W.2d 686, 690 (Tex. 1989).  First, the record must
be examined for evidence that supports the finding, while ignoring all evidence to the contrary.  Id. 
Second, if there is no evidence to support the finding, then the entire record must be examined to see
if the contrary proposition is established as a matter of law.  Id.  Only if the contrary position is
conclusively established can we sustain the legal sufficiency challenge.  Therefore, none of the
remaining affirmative defenses can support the judgment unless the record conclusively
demonstrates that the elements of at least one of the particular affirmative defenses have been met. 


Statute of Limitations

		O'Leary contends that, as a matter of law, Fox's claim is barred by the applicable
four-year statute of limitations.  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 16.051 (West 2008).  A
cause of action for enforcement of deed restrictions accrues upon breach of the restrictive covenant. 
See Girsh v. St. John, 218 S.W.3d 921, 925 (Tex. App.--Beaumont 2007, no pet.).  O'Leary
contends that his original home, which was built in the 1960s, encroached upon the setbacks
prescribed by the deed restrictions.  He further asserts that when he enclosed his carport in 1988, it
created an additional encroachment. (2)  He therefore contends that the statute of limitations for the
front setback violation began to run in the 1960s (construction of the original house), the statute of
limitations for the south side setback violation began to run in 1988 (enclosure of the carport), and
the statute of limitations for the north side setback began to run at some time prior to Fox's
purchase&nbsp;of his home (presence of HVAC unit).  However, once a violation of a restrictive
covenant&nbsp;has&nbsp;ceased, the enforceability of the restrictive covenant is renewed, and limitations
does&nbsp;not&nbsp;bar&nbsp;enforcement of any future violations.  See Daniels v. Balcones Woods Club, Inc.,
No.&nbsp;03-03-00310-CV, 2006&nbsp;WL 263589, at&nbsp;*5 (Tex. App.--Austin Feb. 2, 2006, pet. denied) (mem.
op.); Schoenhals v. Close, 451 S.W.2d 597, 599 (Tex. Civ. App.--Amarillo 1970, no writ)
(limitations period revived when violation of restrictive covenant ceased).  Even if O'Leary's
previous residence, including the HVAC unit and the enclosed garage, violated the deed restrictions,
that violation ceased when the house was destroyed by fire in 2007.  The statute of limitations
applicable to the new violation of the deed restrictions began to run in January 2010 when
construction of the new house began.  O'Leary has failed to demonstrate that Fox's claim is, as a
matter of law, barred by limitations.


Waiver

		O'Leary next contends that Fox's claims are barred by waiver.  Waiver is defined as
the intentional relinquishment of a known right or intentional conduct inconsistent with claiming
that&nbsp;right.  Jernigan v. Langley, 111 S.W.3d 153, 156 (Tex. 2003).  Waiver can be established by
a&nbsp;party's express renunciation of a known right or by silence or inaction for so long a period
of&nbsp;time&nbsp;as&nbsp;to show an intent to yield the known right.  Tenneco, Inc. v. Enterprise Prods. Co,
925&nbsp;S.W.2d&nbsp;640, 643 (Tex. 1996); Aguilar v. Segal, 167 S.W.3d 443, 451 (Tex. App.--Houston
[14th Dist.] 2005, pet. denied).  Waiver is largely a matter of intent, and for implied waiver to be
found through a party's actions, intent must be clearly demonstrated by the surrounding facts and
circumstances.  Jernigan, 111 S.W.3d at 156.

		O'Leary argues that the evidence conclusively establishes that Fox waived
enforcement of the deed restrictions because of the existence of a number of houses in the
neighborhood that are located in places that encroach on the setback requirements of the deed
restrictions.  As an initial matter, we note that counsel for O'Leary expressly stated at trial that he
was "not seeking a waiver or a declaration that this particular set of covenants is waived as to the
entire neighborhood."  O'Leary has therefore waived any defense based on an assertion that the deed
restrictions have been abandoned in their entirety.  Rather, the waiver issue is limited to whether the
evidence at trial conclusively establishes that Fox voluntarily and intentionally relinquished his right
to enforce the deed restrictions.  See id.  O'Leary asserts that Fox has never taken any steps to
enforce the deed restrictions against another person in the subdivision, despite the fact that,
according to O'Leary, several other properties violated the setback requirements.  We note first,
however, that the record does not conclusively establish the existence of widespread violations of
the setback requirements in the neighborhood.  The record includes the testimony of Donald
Cummins, one of the original developers of the subdivision and a member of the Architectural
Control Committee and Property Owners' Committee until 1976, by which time houses had been
built on all lots in the neighborhood.  Cummins testified that the location of each of the originally
constructed houses was approved by the pertinent committee, and that to his knowledge, any
variances from the setback requirements were reviewed and approved in writing.  Although O'Leary
attempted to introduce evidence of his own evaluation of which houses in the neighborhood violated
the setback requirements, the trial court refused to admit the evidence.

		There was evidence admitted at trial that Fox was aware that the corner of one of his
neighbor's houses encroached on the side setback.  Fox's awareness and failure to act on one other
possible violation of the deed restrictions is not, however, sufficient to establish waiver.  See Jim
Rutherford Invs., Inc. v. Terramar Beach Cmty. Assoc., 25 S.W.3d 845, 852 (Tex. App.--Houston
[14th Dist.] 2000, pet. denied).  Moreover, the evidence showed that the house at issue was original
construction.  Accordingly, taking into account Cummins's testimony, it is a reasonable inference
that a variance had been approved by either the Architectural Control Committee or the Property
Owners' Committee.  And even if it were in violation of the deed restrictions, Fox would be barred
by limitations from taking any action to enforce the deed restrictions in that case.  Fox's failure to
pursue a time-barred claim against another neighbor is not conclusive proof of his intentional right
to relinquish his "right" to enforce the deed restrictions against O'Leary.


Unclean Hands

		Finally, O'Leary argues that Fox is barred from pursuing his claim due to his own
unclean hands as evidenced by the fact that his own house encroaches on the side setback.  O'Leary 
contends that, under the doctrine of unclean hands, a court may refuse to grant equitable relief (in
this case the injunctive relief Fox seeks) to a plaintiff who has been guilty of unlawful or inequitable
conduct regarding the issue in dispute.  See Lazy M Ranch v. TXI Operation, LP, 978 S.W.2d 678,
683 (Tex. App.--Austin 1998, pet. denied).  In deed restriction cases, unclean hands applies "when
the plaintiff is guilty of the same actions of which the defendant is accused."  Bollier v. Austin
Gurdwara Sahib, Inc., Nos. 03-09-00313-CV &amp; 03-09-00317-CV, 2010 WL 2698765, at *7 (Tex.
App.--Austin July 9, 2010, pet. denied) (mem. op.).  The evidence at trial does not conclusively
establish that Fox's house actually violates the deed restrictions.  Fox's house is original
construction.  While a corner of Fox's garage is only 7.6 feet from the property line, the deed
restrictions permit a variance from the setback requirements that reduces the side setback from
10&nbsp;to&nbsp;7.5 feet to accommodate trees or topography.  Fox testified that due to the presence of large
trees on his property, he assumed that such a variance had been given when the house was originally
constructed.  And as discussed above, Cummins testified that each of the houses originally
constructed in the subdivision was reviewed by the Architectural Control Committee or the Property
Owners' Committee to ensure their compliance with the deed restrictions or to review any variances
therefrom, and that there was no original construction built without committee approval.  This
testimony gives rise to a reasonable inference that a variance had been granted to the original owner
of Fox's house.  Thus, the record does not conclusively establish that Fox's claim is barred by his
own unclean hands. (3)

		For the foregoing reasons, we sustain Fox's first appellate issue and overrule
O'Leary's crosspoints related to the affirmative defenses of limitations, waiver, and unclean hands.


Request for Injunctive Relief

		In his second appellate issue, Fox contends that the trial court abused its discretion
"in denying Fox a permanent injunction."  However, because it concluded that Fox's claim was
barred by laches, the trial court did not reach the issue of whether he was otherwise entitled to
injunctive relief and, if so, the nature of any such relief.  In his live pleading, Fox alleged that in the
event O'Leary were permitted to continue to violate the setback requirements, he would be required
to incur costs to improve his property to restore some enjoyment to it.  The trial court did not balance
the equities and enter findings of fact relating to whether the injunctive relief Fox seeks is available
under the circumstances, nor were there fact findings regarding whether, as some evidence adduced
at trial suggests, equitable relief short of requiring strict compliance with the deed restrictions may
be appropriate. To determine whether enforcing the restrictive covenants would be inequitable
toward a particular property owner, the trial court must weigh the equities favoring that property
owner against the equities favoring the other property owners who acquired their property subject
to those restrictions.  Winfield v. Lamoyne, No. 05-09-01851-CV, 1995 WL 634161, at *13 (Tex.
App.--Dallas Oct. 16, 1995, writ dism'd) (mem. op.).  We therefore remand the cause to the trial
court in order to provide it with the opportunity to balance the equities and make a determination,
in the first instance, as to whether Fox is entitled to injunctive relief.  We overrule Fox's second
issue.  Because we are remanding the cause to the trial court, we need not address Fox's third issue
related to his request for attorneys' fees.


CONCLUSION

		The trial court erred in concluding that Fox's claim was barred by laches and, having
done so, did not make findings of fact regarding Fox's request for injunctive relief.  Consequently,
we reverse the trial court's judgment and remand the cause for further proceedings.





						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Reversed and Remanded

Filed:   March 14, 2012

1.   The affidavit expressly states that by initialing the paragraphs, O'Leary "acknowledges
understanding of the disclosures being made by Title Company and affirms the representations made
to [him]."
2.   O'Leary contends that other features of his property, specifically stone walls and fences,
constitute encroachments on the setback under the theory that the term "structure" as used in the
deed restrictions encompasses these things.  We conclude that this is an unreasonably broad
construction of the term "structure" as used in the deed restrictions.  See Bollier v. Austin Gurdwara
Sahib, Inc., Nos. 03-09-00313-CV &amp; 03-09-00317-CV, 2010 WL 2698765, at *5 n.6 (Tex.
App.--Austin July 9, 2010, pet. denied) (mem. op.) (defining "building" as synonymous with
"structure" and stating that "[s]tructure usually implies considerable size and emphasizes physical
make-up with respect to material and design" (emphasis in original)); see also DeNina v. Bammel
Forest Civic Club, Inc., 712 S.W.2d 195, 198 (Tex. App.--Houston [1st Dist. 1986, no pet.)
("Restrictive covenants are to be strictly construed against those who seek to restrict the use of
property, and all doubt must be resolved in favor of the free use of the property.")
3.   In addition, it is problematic whether O'Leary could, as a result of his own unclean hands,
avail himself of any equitable doctrine.

